Case 08-35653-KRH              Doc 14233 Filed 10/11/19 Entered 10/11/19 13:50:08                               Desc
                                   Main Document   Page 1 of 15




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Counsel to Alfred H. Siegel, as Trustee of the Circuit City Stores, Inc. Liquidating Trust

                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                      RICHMOND DIVISION

    In re:                                                  ) Case No. 08-35653 (KRH)
                                                            )
    CIRCUIT CITY STORES, INC., et al., 1                    ) Chapter 11
                                                            )
                                     Debtors.               ) (Jointly Administered)
                                                            )
                                                            )
                                                            )

             MOTION OF THE LIQUIDATING TRUSTEE FOR ENTRY OF AN ORDER
                  FURTHER EXTENDING TERM OF LIQUIDATING TRUST

             Alfred H. Siegel, as Trustee (the “Trustee”) of the Circuit City Stores, Inc. Liquidating

Trust (the “Trust”) created under the Modified Second Amended Joint Plan of Liquidation of

Circuit City Stores, Inc. and its Affiliated Debtors and Debtors in Possession and its Official

Committee of Unsecured Creditors Holding General Unsecured Claims [Docket No. 8555,

Exhibit A] (the “Plan”), hereby moves (the “Motion”) the Court for the entry of an order further

extending the term of the Trust through June 30, 2020.

1
  The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identifications
numbers, are as follows: Circuit City Stores, Inc. (3875), Circuit City Stores West Coast, Inc. (0785), InterTAN, Inc.
(0875), Ventoux International, Inc. (1838), Circuit City Purchasing Company, LLC (5170), CC Aviation, LLC
(0841), CC Distribution Company of Virginia, Inc. (2821), Circuit City Properties, LLC (3353), Kinzer Technology,
LLC (2157), Abbott Advertising Agency, Inc. (4659), Patapsco Designs, Inc. (6796), Sky Venture Corp. (0311),
Prahs, Inc. (n/a), XSStuff, LLC (9263), Mayland MN, LLC (6116), Courchevel, LLC (n/a), Orbyx Electronics, LLC
(3360), and Circuit City Stores PR, LLC (5512).
Case 08-35653-KRH          Doc 14233 Filed 10/11/19 Entered 10/11/19 13:50:08                    Desc
                               Main Document   Page 2 of 15




                                                  I.

                                 PRELIMINARY STATEMENT

       1.      Under the Plan, the Trust was established with a five-year term through October

31, 2015. In July 2015, the Court entered an order, on the Trustee’s motion therefor, extending

the term of the Trust through November 1, 2017. On August 24, 2017, the Court entered an

order, on the Trustee’s motion therefor, extending the term of the Trust through November 1,

2018. On July 30, 2018, the Court entered an order, on the Trustee’s motion therefor, extending

the term of the Trust through December 31, 2019.

       2.      Within the past year since the most recent extension was granted, the Trust has

completed most affirmative recovery efforts, recovering substantial sums thereby, concluded all

claims disputes, and reduced its staff and expenses of administration. Through September 2019,

the Trust has distributed 54.5 percent to holders of allowed general unsecured claims.

       3.      The Trustee, his staff, and professionals continue their efforts to recover

additional sums through affirmative litigation and in order to make material additional

distributions to the holders of allowed claims. These efforts include two settled class action

matters for which the only remaining issue is the amount of the Trust’s claim and payment

thereon, and two matters in which the Trust prevailed in this Court and appeals are pending. As

to all of these matters, the timetable for resolution is outside of the Trust’s influence or control.

       4.      While the Trustee was hopeful that all ongoing matters would be resolved before

the current conclusion date of the Trust, he now believes that beneficiaries of the Trust will

benefit from, and hereby seeks, an extension of the term of the Trust through and including June




                                                       2
Case 08-35653-KRH         Doc 14233 Filed 10/11/19 Entered 10/11/19 13:50:08                Desc
                              Main Document   Page 3 of 15




30, 2020. The Trustee seeks to reserve the right to request further extensions, upon notice and

hearing, as necessary to complete the administration of the Trust.

                                                 II.

                                         JURISDICTION

       5.      The United States Bankruptcy Court for the Eastern District of Virginia (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, Article XI of

the Plan, and the Standing Order of Reference from the United States District Court for the

Eastern District of Virginia, dated August 15, 1984. The Trustee confirms his consent, pursuant

to Rule 7008 of the Federal Rules of Bankruptcy Procedure, to the entry of a final order by the

Court in connection with this Motion to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

       6.      This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

       7.      Venue of these chapter 11 cases in this District is proper pursuant to 28 U.S.C. §§

1408 and 1409.

                                                III.

                     RELIEF REQUESTED AND BASIS FOR RELIEF

       8.      By this Motion, the Trustee seeks the entry of an order further extending the term

of the Trust through and including June 30, 2020.

       9.      The predicates for the relief sought herein are Articles 9.3, 10.8, and 11.6 of the

Circuit City Stores, Inc. Liquidating Trust Agreement (the “Liquidating Trust Agreement”),

section 1142 of the Bankruptcy Code, Article XI of the Plan, and this Court’s Findings of Fact,



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Case 08-35653-KRH         Doc 14233 Filed 10/11/19 Entered 10/11/19 13:50:08                  Desc
                              Main Document   Page 4 of 15




Conclusions of Law and Order Confirming Modified Second Amended Joint Plan of Liquidation

of Circuit City Stores, Inc. and its Affiliated Debtors and Debtors in Possession and its Official

Committee of Creditors Holding General Unsecured Claims [Docket No. 8555] (the

“Confirmation Order”).

                                                IV.

                                        BACKGROUND

       A.      General Case Milestones

       10.     On November 10, 2008, the above-captioned debtors (the “Debtors”) filed

voluntary petitions in this Court for relief under chapter 11 of title 11 of the United States Code.

The Debtors’ wholly owned subsidiary, InterTAN Canada, Ltd. (which operated as The Source

by Circuit City) and Tourmalet Corporation (a non-operating holding company) filed under the

Companies’ Creditors Arrangement Act in Canada.

       11.     On November 12, 2008, pursuant to sections 1102(a) and 1102(b)(1) of the

Bankruptcy Code, the Office of the United States Trustee for the Eastern District of Virginia

appointed an official committee of unsecured creditors (the “Creditors Committee”).

       12.     The Debtors and Creditors Committee, as co-plan proponents, filed the Plan and

the Supplemental Disclosure Statement [Docket No. 8253] supporting the Plan. Following a

hearing on approval of the Plan, on September 14, 2010, the Court entered the Confirmation

Order approving and confirming the Plan.




                                                      4
Case 08-35653-KRH           Doc 14233 Filed 10/11/19 Entered 10/11/19 13:50:08                       Desc
                                Main Document   Page 5 of 15




        13.     The effective date under the Plan for the Debtors other than Ventoux

International, Inc. and InterTAN Canada occurred on November 1, 2010 (the “Effective Date”).

[Docket No. 8865].2

        B.      The Liquidating Trust and Appointment of Trustee and Oversight
                Committee

        14.     Pursuant to Article V.F of the Plan and paragraphs 11-16 of the Confirmation

Order, the Trust was established to effectuate the Plan by, among other things, collecting,

administering, distributing, and liquidating the assets of the Debtors’ estates that were transferred

to the Liquidating Trust on the Effective Date. The terms of the Liquidating Trust are governed

by the Liquidating Trust Agreement [Docket No. 8555, Exhibit B].

        15.     Under the Plan, Alfred H. Siegel was appointed as Trustee of the Trust. See Plan §

1.112; Memorandum of Law in Support of Confirmation of the Plan [Docket No. 8462] at 22 and

44-45. The Trustee has continued to administer the Trust with the advice and consent of the

Oversight Committee as provided for in the Liquidating Trust Agreement.

        C.      Term of the Liquidating Trust

        16.     Pursuant to Section 9.1 of the Liquidating Trust Agreement, the Trust became

effective on the Effective Date. Section 9.2 provides that the Trust shall terminate upon the

distribution of all Trust Assets, the payment of all costs of administering the Liquidating Trust

and the Court’s entry of a final order closing the cases.

        17.     Section 9.3 provides that, if the Trust has not been previously terminated pursuant

to section 9.2, it shall terminate on the fifth anniversary of the Effective Dates unless the term



2
 The effective date for Debtor Ventoux International, Inc. was October 22, 2015, and for InterTAN Canada was
October 26, 2015.


                                                         5
Case 08-35653-KRH        Doc 14233 Filed 10/11/19 Entered 10/11/19 13:50:08                 Desc
                             Main Document   Page 6 of 15




has been extended by the Court in accordance with the terms of the Plan, with such extension to

be approved by the Court within six months of the beginning of the extended term.

       18.    By Motion filed on June 2, 2015 [Docket No. 13699], the Trustee requested a two

(2) year extension of the term of the Trust. The Trustee’s motion was granted by this Court’s

Order entered on July 21, 2015 [Docket No. 13742] (the “Extension Order”), which extended the

term of the Trust for all Debtors through and including November 1, 2017.

       19.    By Motion filed on June 21, 2017 [Docket No. 14098], the Trustee requested an

additional one-year extension of the term of the Trust. The Trustee’s motion was granted by this

Court’s Order entered on August 24, 2017 [Docket No. 14125], which extended the term of the

Trust for all Debtors through and including November 1, 2018.

       20.    By Motion filed on June 28, 2018 [Docket No. 14173], the Trustee requested an

additional extension of the term of the Trust. The Trustee’s motion was granted by this Court’s

Order entered on July 30, 2018 [Docket No. 14178], which extended the term of the Trust for all

Debtors through and including December 31, 2019, and included a right of the Trustee to seek a

further extension of the term of the Trust, upon motion and hearing, provided that Court approval

thereof is obtained within six (6) months of the beginning of the proposed extended term.

                                               V.

                 THE TERM OF THE TRUST SHOULD BE EXTENDED

       21.    Absent an extension granted by the Court, the Trust is scheduled to terminate for

all Debtors on December 31, 2019. As described below, the Trust is pursuing affirmative

recoveries in a few remaining matters that will not be completed so as to permit the Trust to

distribute all of its assets and seek a Court order closing these cases prior to the current



                                                    6
Case 08-35653-KRH          Doc 14233 Filed 10/11/19 Entered 10/11/19 13:50:08                   Desc
                               Main Document   Page 7 of 15




December 31, 2019 termination date. As a result, the Trustee submits that it is necessary and

warranted to extend the term of the Trust for an additional several months, with an option to seek

a further extension upon proof of need therefor. The Trustee requests that the Trust term be

extended for all Debtors through and including June 30, 2020.

       22.     Further extension of the Trust term is consistent with the terms of the Plan, the

Confirmation Order, the Liquidating Trust Agreement, and applicable bankruptcy law. The

Trustee has the power and authority to perform such functions as are provided in the Plan and the

Liquidating Trust Agreement and any powers reasonably incidental thereto, including seeking

Court authority to extend the term of the Trust. [Liquidating Trust Agreement § 3.1.] More

specifically, the Liquidating Trust Agreement provides that the term of the Trust may be

extended by an order of this Court. [Liquidating Trust Agreement § 9.3.] This Motion has been

timely filed pursuant to Section 9.3 of the Liquidating Trust Agreement and the Extension Order.

       23.     A further extension of the Trust term is also supported by governing bankruptcy

law. Bankruptcy Rule 9006(b) provides that “when an act is required or allowed to be done at or

within a specified period . . . by order of [the] court, the court for cause shown may at any time

in its discretion . . . order the period enlarged . . . .” Fed. R. Bankr. P. 9006(b). While it would be

unusual to find a published decision granting an extension of the term of a post-confirmation

liquidating trust where the authority to do so is express in the trust agreement, at least one court

has extended the term of a liquidating trust past the authority granted in the trust agreement,

where unlike here, a plan modification was required. In re Boylan Intern., Ltd., 452 B.R. 43, 51

(Bankr. S.D.N.Y. 2001) (holding that the duration of the trust may be extended for an additional




                                                      7
Case 08-35653-KRH          Doc 14233 Filed 10/11/19 Entered 10/11/19 13:50:08               Desc
                               Main Document   Page 8 of 15




two years to permit the trustee an opportunity to continue its prosecution of a malpractice claim,

the estate’s “primary asset”).

       24.     The further extension of the term of the Trust is necessary to complete the

recovery and liquidation of the Trust Assets, including without limitation, the prosecution of

antitrust actions concerning price-fixing activity and the pursuit of excess insurance. In

particular, the Optical Disc Drive and Lithium Ion Battery antitrust actions have been settled

between the class and the defendants, but the validation and resolution of claim amounts has not

been completed. The Trust timely submitted documentation to support its claims in both matters

and promptly responded to all subsequent inquiries by the claims agents. The Trust now merely

awaits word as to the final determinations of the amounts of its claims and payment thereon from

the settlement funds, which should aggregate several million dollars.

       25.     In addition, the Trust remains engaged in litigation with the California State

Compensation Insurance Fund (the “Fund”). The Court entered a summary judgment in favor of

the Trust that precludes the Fund from pursuing any further recoveries from the Trust or its

insurance carrier, Old Republic Insurance Company. The Court’s judgment was affirmed by the

United States District Court for the Eastern District of Virginia on September 27, 2019. Counsel

for the Fund has informed counsel for the Trust that the Fund intends to appeal to the Fourth

Circuit. The Trust stands to recover $957,819 if this Court’s judgment is again affirmed on

appeal, as the Trust’s settlement with Old Republic set aside this amount pending resolution of

the Fund litigation.

       26.     Finally, the Trust is currently litigating the overpayment of quarterly United

States Trustee fees in the amount of $576,142. This Court determined that the 2017 amendment



                                                    8
Case 08-35653-KRH               Doc 14233 Filed 10/11/19 Entered 10/11/19 13:50:08                               Desc
                                    Main Document   Page 9 of 15




to 28 U.S.C. § 1930(a)(6) relating to the calculation of quarterly fees due from the Trust was

unconstitutional. Neither the Fourth Circuit nor the Supreme Court has addressed the

constitutionality of the 2017 amendment, and as this question presents matters of public

importance, the Trust has joined with the Office of the United States Trustee in a request for

direct certification to the Fourth Circuit Court of Appeals for consideration of such matters. The

Trust has also filed a complaint to recover the overpayment.

         27.      While litigation recoveries are inherently uncertain, the Trustee believes that the

Trust’s above described efforts, in combination with funds on hand, will serve to generate

perhaps as much as a 2 percent additional recovery for general unsecured creditors.3

         28.      A further extension of the term of the Trust will benefit, not harm creditors,

because (a) the Trust will continue to make interim distributions as feasible from available funds

and (b) the Trust’s actions during the extended period should serve to increase the potential

distribution to creditors.

         29.      Based on these facts, the Trustee submits that a further extension of the Trust

termination date is warranted under the circumstances and is necessary to facilitate the

administration of the Trust so as to maximize the recovery for creditors of the estates.

Accordingly, the Trustee respectfully requests that the term of the Trust be extended through and

including June 30, 2020, for all Debtors, reserving the Trustee’s rights to seek a further extension

upon notice and hearing.




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 In addition, various administrative tasks will be required, particularly tax reporting, after the final distribution has
been made.


                                                                9
Case 08-35653-KRH          Doc 14233 Filed 10/11/19 Entered 10/11/19 13:50:08                 Desc
                              Main Document    Page 10 of 15




                                               NOTICE

       30.     Notice of this Motion is being provided to (i) the Office of the United States

Trustee and (ii) those parties that have requested notice in these cases. In light of the nature of

the relief requested, the Trustee respectfully submits that no further notice is necessary.

                                     NO PRIOR REQUEST

       31.     No previous request for this further extension of the Trust term has been made to

this Court or any other court.

                                         CONCLUSION

       WHEREFORE, the Trustee respectfully requests that the Court enter an order,

substantially in the form annexed hereto as Exhibit A, extending the termination date of the Trust

through and including June 30, 2020, reserving the Trustee’s right to seek further extension of

the termination date upon notice and hearing, and order such other and further relief as the Court

may deem just and proper.


Dated: October 11, 2019
                                       TAVENNER & BERAN, P.L.C.

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Case 08-35653-KRH   Doc 14233 Filed 10/11/19 Entered 10/11/19 13:50:08                     Desc
                       Main Document    Page 11 of 15




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                                            11
Case 08-35653-KRH   Doc 14233 Filed 10/11/19 Entered 10/11/19 13:50:08   Desc
                       Main Document    Page 12 of 15




                                EXHIBIT A

                              (Proposed Order)
Case 08-35653-KRH              Doc 14233 Filed 10/11/19 Entered 10/11/19 13:50:08                               Desc
                                  Main Document    Page 13 of 15




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Counsel to Alfred H. Siegel, as Trustee of the Circuit City Stores, Inc. Liquidating Trust

                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                      RICHMOND DIVISION

    In re:                                                  ) Case No. 08-35653 (KRH)
                                                            )
    CIRCUIT CITY STORES, INC., et al., 1                    ) Chapter 11
                                                            )
                                     Debtors.               ) (Jointly Administered)
                                                            )
                                                            )
                                                            )

          ORDER GRANTING MOTION OF THE LIQUIDATING TRUSTEE FOR
      ENTRY OF AN ORDER FURTHER EXTENDING TERM OF LIQUIDATING TRUST

             Upon the Motion (the “Motion”)2 of the Trustee of the Circuit City Stores, Inc.

Liquidating Trust (the “Trust”) created under the Modified Second Amended Joint Plan of

Liquidation of Circuit City Stores, Inc. and its Affiliated Debtors and Debtors in Possession and

its Official Committee of Unsecured Creditors Holding General Unsecured Claims [Docket No.

8555, Exhibit A] (the “Plan”), for the entry of an order further extending the term of the Trust,


1
  The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identifications
numbers, are as follows: Circuit City Stores, Inc. (3875), Circuit City Stores West Coast, Inc. (0785), InterTAN, Inc.
(0875), Ventoux International, Inc. (1838), Circuit City Purchasing Company, LLC (5170), CC Aviation, LLC
(0841), CC Distribution Company of Virginia, Inc. (2821), Circuit City Properties, LLC (3353), Kinzer Technology,
LLC (2157), Abbott Advertising Agency, Inc. (4659), Patapsco Designs, Inc. (6796), Sky Venture Corp. (0311),
Prahs, Inc. (n/a), XSStuff, LLC (9263), Mayland MN, LLC (6116), Courchevel, LLC (n/a), Orbyx Electronics, LLC
(3360), and Circuit City Stores PR, LLC (5512).
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  Capitalized terms not otherwise defined herein shall have the meanings and definitions ascribed to such terms in
the Motion.
Case 08-35653-KRH         Doc 14233 Filed 10/11/19 Entered 10/11/19 13:50:08                  Desc
                             Main Document    Page 14 of 15




all as set forth in greater detail in the Motion; and the Court having reviewed the Motion, and the

Court having determined that the relief requested in the Motion is reasonable and warranted

under the circumstances; and it appearing that proper and adequate notice of the Motion has been

given and that no other or further notice is necessary; and upon the record herein; and after due

deliberation thereon; and good and sufficient cause appearing therefor,

         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:

         1.    The Motion is GRANTED.

         2.    The Liquidating Trust Agreement is extended through and including June 30,

2020, for all Debtors.

         3.    The Trustee’s right to request further extensions for cause upon notice and

hearing, is hereby preserved, provided that any further extension of the term of the Liquidating

Trust is approved by the Court within six (6) months of the beginning of the proposed extended

term.

         4.    The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.



Dated:
         Richmond, Virginia                          The Honorable Kevin R. Huennekens
                                                     United States Bankruptcy Judge




                                                 2
 Case 08-35653-KRH            Doc 14233 Filed 10/11/19 Entered 10/11/19 13:50:08            Desc
                                 Main Document    Page 15 of 15




 WE ASK FOR THIS:



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 SEEN AND NO OBJECTION:


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                                            CERTIFICATION


         I hereby certify that the foregoing proposed Order has been either served on or endorsed
 by all necessary parties.

                                                 Lynn L. Tavenner, Esquire (Va. Bar No. 30083)
                                                 Tavenner & Beran, PLC
                                                 1015 East Main Street, First Floor
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